           IN THE UNITED STATES DISTRICT COURT
        FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                  WINSTON-SALEM DIVISION

FEDERAL TRADE COMMISSION,
STATE OF CALIFORNIA, STATE OF
COLORADO, STATE OF ILLINOIS,
STATE OF INDIANA, STATE OF
IOWA, STATE OF MINNESOTA,
STATE OF NEBRASKA, STATE OF
OREGON, STATE OF TENNESSEE,
STATE OF TEXAS, STATE OF
WASHINGTON, and STATE OF
WISCONSIN,

                   Plaintiffs,
                                          Case No. 1:22-cv-00828-TDS-JEP
             v.

SYNGENTA CROP PROTECTION
AG, SYNGENTA CORPORATION,
SYNGENTA CROP PROTECTION,
LLC, and CORTEVA, INC.,

                   Defendants.


IN RE CROP PROTECTION
PRODUCTS LOYALTY PROGRAM                   Case No. 1:23-md-3062-TDS-JEP
ANTITRUST
LITIGATION

                  SYNGENTA’S NOTICE
    OF WITHDRAWAL OF MOTION TO COMPEL DISCOVERY OF
                     ATTICUS, LLC

      Syngenta Crop Protection AG, Syngenta Corporation, and Syngenta

Crop Protection, LLC (collectively “Syngenta”) hereby give notice of the

withdrawal, without prejudice, of their Motion To Compel Non-Party Atticus,




   Case 1:22-cv-00828-TDS-JEP    Document 311    Filed 03/11/25   Page 1 of 4
LLC’s Subpoena Response under Federal Rules of Civil Procedure 34(c) and

45(d)(2)(B)(i) (Case No. 1:22-cv-00828 Dkt. 265; Case No. 1:23-md-3062 Dkt.

166). In support of this withdrawal, Syngenta states as follows:

      1.    Syngenta served Atticus a Rule 45 subpoena on August 6, 2024.

(See Case No. 1:22-cv-00828 Dkt. 265-1; Case No. 1:23-md-3062 Dkt. 166-1).

      2.    On November 18, 2024, pursuant to Rule 45(d)(2)(B)(i), Syngenta

moved for an order compelling Atticus’s compliance with the subpoena with

respect to documents and data (Case No. 1:22-cv-00828 Dkt. 265; Case No.

1:23-md-3062 Dkt. 166).

      3.    On January 23, 2025, the Court ordered the Parties to meet and

confer on a weekly basis through February 28, 2025, to try to reach an

agreement regarding a document collection, review, and production plan for

Atticus to substantially complete its production of documents by March 28,

2025. (See Case No. 1:22-cv-00828 Minute Entry for 1/23/2025 Proceedings;

Case No. 1:23-md-3062 Minute Entry for 1/23/2025 Proceedings).

      4.    On February 27, 2025, after weekly meet and confers, Syngenta

and Atticus agreed on the contours of a plan for Atticus to substantially

complete its production of documents in response to both Syngenta’s

subpoenas and co-Defendant Corteva’s subpoenas by March 28, 2025, and

therefore resolved the motion to compel dispute.


                                       2




   Case 1:22-cv-00828-TDS-JEP    Document 311      Filed 03/11/25   Page 2 of 4
      5..   Syngenta thus withdraws its pending motions to compel without

prejudice to re-filing these motions to compel if Atticus does not substantially

complete its production of documents by March 28, 2025, or otherwise does

not follow the document and data collection, review, and production plan

agreed upon between Syngenta and Corteva, on the one hand, and Atticus, on

the other hand.

      March 11, 2025.



                                           s/Patrick M. Kane
                                           Patrick M. Kane
                                           N.C. Bar No. 36861
                                           pkane@foxrothschild.com
                                           Sean T. Placey
                                           N.C. Bar No. 56683
                                           splacey@foxrothschild.com

                                           FOX ROTHSCHILD LLP

                                           230 N. Elm Street, Suite 1200
                                           PO Box 21927 (27420)
                                           Greensboro, NC 27401
                                           Telephone: (336) 378-5200
                                           Facsimile: (336) 378-5400

                                           Charles S. Duggan*
                                           charles.duggan@davispolk.com
                                           James I. McClammy*
                                           james.mcclammy@davispolk.com
                                           Daniel J. Thomson*
                                           daniel.thomson@davispolk.com

                                           DAVIS POLK & WARDWELL LLP

                                       3




   Case 1:22-cv-00828-TDS-JEP     Document 311    Filed 03/11/25   Page 3 of 4
                                     450 Lexington Avenue
                                     New York, NY 10017
                                     Telephone: (212) 450-4292
                                     Facsimile: (212) 701-5292

                                     Benjamin M. Miller*
                                     benjamin.miller@davispolk.com

                                     DAVIS POLK & WARDWELL LLP

                                     1050 17th Street, NW
                                     Washington DC 20036
                                     Telephone: (202) 962-7133
                                     Facsimile: (202) 962-7196

                                     *Specially appearing under L.R.
                                     83.1(d)

                                     Attorneys for Defendants Syngenta
                                     Crop Protection AG, Syngenta
                                     Corporation, and Syngenta Crop
                                     Protection, LLC




                                 4




Case 1:22-cv-00828-TDS-JEP   Document 311   Filed 03/11/25   Page 4 of 4
